Case 2:23-cv-00123-JKS-MAH Document 19-1 Filed 03/13/23 Page 1 of 3 PageID: 375




 Loly G. Tor
 K&L GATES LLP
 One Newark Center, 10th Floor
 Newark, New Jersey 07102
 Phone: (973) 848-4026
 loly.tor@klgates.com
 Defendants Cipla Limited and
 Cipla USA, Inc.

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  FENNEC PHARMACEUTICALS, INC. and                       No. 2:23-cv-00123-MCA-MAH
  OREGON HEALTH AND SCIENCE
  UNIVERSITY,                                            Hon. Madeline Cox Arleo, U.S.D.J.
                                                         Hon. Michael A. Hammer, U.S.M.J.
              Plaintiffs,
                  v.
                                                                  DECLARATION OF
  CIPLA LIMITED and CIPLA USA, INC.,                             ANIL H. PATEL, ESQ.,
                                                           IN SUPPORT OF APPLICATION FOR
                Defendants.                                    ADMISSION PRO HAC VICE




                                                                 Document Filed Electronically


   ANIL H. PATEL, ESQ., of full age, hereby declares as follows:

           1.      I am an attorney-at-law with the law firm of K&L Gates LLP, 609 Main Street,

   Suite 4150, Houston, Texas 77002. I am not under suspension or disbarment in any

   jurisdiction or court. No disciplinary proceedings are pending against me and no discipline

   has previously been imposed upon me in any jurisdiction or court.

           2.      I submit this Declaration in support of the application by Defendants Cipla

   Limited and Cipla USA, Inc. (“Cipla”) to permit me to appear and participate, pro hac vice,

   as counsel for Cipla at pre-trial, trial, and post-trial proceedings of the above-captioned action.


                                                   1
Case 2:23-cv-00123-JKS-MAH Document 19-1 Filed 03/13/23 Page 2 of 3 PageID: 376




             3.   I am duly admitted and currently in good standing to practice law in the

   following jurisdictions, for which I list my year of admission and the address of the official

   office maintaining the roll of such members of its bar:

   Georgia (2012)                                The State Bar of Georgia
                                                 Membership Department
                                                 104 Marietta St. NW, Suite 100
                                                 Atlanta, GA 30303
   New York (2010)                               Attorneys Records Clerk
                                                 New York Supreme Court
                                                 Appellate Division, First Department
                                                 27 Madison Avenue
                                                 New York, NY 10010
   U.S. District Court of the Northern           Clerk of the Court
   District of Georgia (2015)                    75 Ted Turner Drive NW
                                                 Atlanta, GA 30303
   Texas (2019)                                  The State Bar of Texas
                                                 Membership Department
                                                 1414 Colorado Street
                                                 Austin, Texas 78701

             4.   I practice in the litigation of patent matters, and am familiar with this action.

             5.   I am associated in this matter with Loly G. Tor, a partner with K&L Gates

   LLP, who is the attorney of record for Cipla, is authorized to practice law in New Jersey, and

   is a member in good standing of the bar of this Court.

             6.   Upon being admitted to appear and participate in this matter pro hac vice, I

   shall promptly make payment to the New Jersey Lawyers’ Fund for Client Protection as

   provided by New Jersey Rule 1:28-2(a), for any year in which I continue to appear in this

   matter.

             7.   Upon being admitted to appear and participate in this matter pro hac vice, I

   shall also promptly make payment to the Clerk of the United States District Court for the

   District of New Jersey as provided by Local Civil Rule 101.1(c)(3).

             8.   I also understand that upon admission pro hac vice, I am subject to the orders

                                                  2
Case 2:23-cv-00123-JKS-MAH Document 19-1 Filed 03/13/23 Page 3 of 3 PageID: 377




   and amenable to disciplinary action and the civil jurisdiction of this Court and the New Jersey

   State Bar in all respects as if I were regularly admitted and a licensed member of the Bar of

   the State of New Jersey in good standing. I agree to notify the Court immediately of any

   matter affecting my standing at the bar of any other court.

          9.      Upon being admitted to appear and participate in this matter, pro hac vice, I

   shall abide by Local Civil Rule 101.1(c).

          10.     For the foregoing reasons, it is respectfully requested that the Court grant

   Cipla’s application to have me admitted pro hac vice to appear and participate as counsel in

   this matter pursuant to Local Civil Rule 101.1(c).

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on March 6, 2023.



                                               __________________________________
                                               Anil H. Patel, Esq.




                                                  3
